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Case 0:10-cv-60944-JIC Document 46 Entered on FLSD Docket 06/06/2011 Page 1 of 15

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 10-60944-CIV-COHN/SELTZER
FIDENSIO FLORES FRANCO,
Plaintiff,
vs.

ALFRED T. LAMBERTI, as Sheriff

CHRISTOPHER CALDWELL, and
of Broward County, Florida,

Defendant.
/

ORDER DENYING DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT

THIS CAUSE is before the Court on Defendant Deputy Christopher Caldwell’s
Motion for Summary Judgment [DE 29] (“Caldwell’s Motion”) and Defendant Alfred T.
Lamberti’s Motion for Summary Judgment [DE 30] (“Lamberti’s Motion”) (together, |
“Motions”). The Court has considered the Motions, Plaintiff Fidensio Flores Franco's
Response [DE 33], Defendants’ Reply [DE 42], the parties’ related submissions, the
record in this case, and is otherwise advised in the premises.
|. BACKGROUND |

This action concerns claims of false arrest/false imprisonment in violation of the
Fourth and Fourteenth Amendments, pursuant to 42 U.S.C. § 1983, as well as false
arrest/false imprisonment and malicious prosecution, pursuant to Florida law. The |
claims arise from an incident on September 2, 2007, when Defendant Deputy
Christopher Caldwell, a Broward Sheriff's Office (“BSO”) Deputy, arrested Plaintiff

Fidensio Flores Franco.

 
Case 0:10-cv-60944-JIC Document 46 Entered on FLSD Docket 06/06/2011 Page 2 of 15

Plaintiff works sporadic day jobs. See Exhibit B to Defendants’ Statement of
Undisputed Facts, Deposition of Fidensio Flores Franco [DE 31-2] (“Flores Franco |
Deposition”) at 9:23-25, 11:1-3. On September 2, 2007, Plaintiff's friend, Juan
Ramirez, called him to do a job moving furniture. Id. at 13:23-14:3, 14:18, 15:3-5. Mr.
Ramirez told Plaintiff to meet at a nearby BP gas station in Fort Lauderdale, Florida,
where a man with a truck would arrive and take them to the job. Id. 14:19-24, 15:3-10.
The man with the truck was supposed to arrive at 3:50, but he never came. Id. 17:3-5.

The same day, Deputy Caldwell was on patrol in a marked BSO vehicle. Exhibit
F to Defendants’ Statement of Undisputed Facts, BSO Event Report [DE 31-6] (“Event
Report”) at 4. According to Deputy Caldwell, the BP gas station and the surrounding

plaza is a gathering spot for panhandlers who beg customers for money as they exit the

Statement of Undisputed Facts, Deposition of Christopher Caldwell [DE 31-5] (“Caldwell

gas station and other stores and restaurants in the plaza. Exhibit E to Defendants’
Deposition”) at 31:1-32:5. The BP gas station had a trespass affidavit on file “due to

unwanted individuals walking around the front of the business and asking entering and
exiting customers for money, and/or by their very appearance, causing potential |
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customers not to come in.” Event Report at 4; see also Exhibit G to Defendants’

 

Statement of Undisputed Facts, Probable Cause Affidavit [DE 31-7] (“Probable Cause

Affidavit’); see also Exhibit C to Defendants’ Statement of Undisputed Facts,

 

Residential Trespass Affidavit [DE 31-3] (“Trespass Affidavit”). A trespass affidavit is

 

placed on file when a business requests BSO's assistance regarding an ongoing

problem with individuals congregating at the business. Caldwell Dep. at 50:7-15. —
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BSO's Operating Procedures provide that if a business participates in the Trespass

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Case 0:10-cv-60944-JIC Document 46 Entered on FLSD Docket 06/06/2011 Page 3 of 15

Enforcement Program, a deputy is authorized to advise an alleged trespasser at that

business of the offense and ask him to vacate the premises. Exhibit D to Defendants’

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Statement of Undisputed Facts, BSO Department of Law Enforcement Standard

Operating Procedures IDE 31-4] (“Operating Procedures”) §§ 4.15.4(A), (B). Ifthe
alleged trespasser refuses to vacate, the Operating Procedures provide, “the subject
will be placed under arrest for the applicable trespassing violation.” Id. § 4.15.4(C). |

Around 5:15p.m., Deputy Caldwell observed Plaintiff and Mr. Ramirez at the BP

“made contact with both Ramirez and Flores[ and] determined they had no business at
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this location.” Id. Ultimately, he arrested Plaintiff for trespass after warning. Exhibit H

gas station. Event Report at 4. Deputy Caldwell wrote in his Event Report that he

to Defendants’ Statement of Undisputed Facts, BSO Daily Patrol Activity Log [DE 31-8]

("BSO Daily Log”) at 1; Probable Cause Affidavit at 1; see also Event Report at 4.

 

On June 5, 2010, Plaintiff filed the instant action against Caldwell, individually, !
and against Lamberti, as Sheriff for Broward County. See Complaint [DE 1]. The |
Amended Complaint [DE 8] alleges that Deputy Caldwell did not have probable cause
or lawful authority to arrest him or, alternatively, that Deputy Caldwell acted outside the.
course and scope of his employment with BSO, and in bad faith or with malicious

purpose. Plaintiff brings the following claims: false arrest/false imprisonment against

 

Caldwell under 42 U.S.C. § 1983 (Count |); false arrest/false imprisonment against BSO
(Count Il), or alternatively against Caldwell in his individual capacity (Count Ill); and |
malicious prosecution against Caldwell (Count IV). Id.

On March 31, 2011, Deputy Caldwell filed his Motion for Summary Judgment,
arguing that he is entitled to qualified immunity for the federal claim against him and

3

 
Case 0:10-cv-60944-JIC Document 46 Entered on FLSD Docket 06/06/2011 Page 4 of 15

sovereign immunity under Florida Statutes § 768.28(9)(a) for the state law claims
against him. See Caldwell Mot. The same day, Sheriff Lamberti filed his Motion for |
Summary Judgment, arguing that BSO is immune from suit under Florida Statutes §
768.28(9)(a) where Deputy Caldwell had probable cause to arrest Plaintiff. |
ll. LEGAL STANDARD |

Under Federal Rule of Civil Procedure 56(a), the Court may grant summary
judgment “if the movant shows that there is no genuine dispute as to any material fact |
and the movant is entitled to a judgment as a matter of law.” Fed. R. Civ. P. 56(a).
The movant “bears the initial responsibility of informing the district court of the basis for
its motion, and identifying those portions of [the record] which it believes demonstrate |
the absence of a genuine issue of material fact.” Celotex Corp. v. Catrett, 477 U.S.
317, 323 (1986). To discharge this burden, the movant must show that “there is an
absence of evidence to support the non-moving party's case.” Id. at 325.

After the movant has met its burden, the burden of production shifts to the non-

moving party, who “must do more than simply show that there is some metaphysical

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doubt as to the material facts.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 |

U.S. 574, 586 (1986). “If a party fails to properly support an assertion of fact or fails to
properly address another party’s assertion of fact [the Court may] grant summary
judgment if the motion and supporting materials—including the facts considered

undisputed—show that the movant is entitled to it.” Fed. R. Civ. P. 56(e)(3).

 

At the summary judgment stage, the Court's function is not to “weigh the
evidence and determine the truth of the matter but to determine whether there is a
genuine issue for trial.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986). In |

4
Case 0:10-cv-60944-JIC Document 46 Entered on FLSD Docket 06/06/2011 Page 5 of 15

making this determination, the Court must decide which issues are material, and “[o]nly
disputes over facts that might affect the outcome of the suit under the governing law WA
properly preclude the entry of summary judgment. Factual disputes that are irrelevant
or unnecessary will not be counted.” Id. at 248.

lll. ANALYSIS

This case turns on the issue of probable cause. Deputy Caldwell argues that he
is immune from suit and liability for Plaintiff's federal claim and state tort claims, |
focusing his argument on the contention that he did not violate Plaintiff's rights |
he had probable cause to arrest Plaintiff. See Caldwell Mot. Deputy Caldwell further
argues that the existence of probable cause bars the state law claims for false
arrest/false imprisonment and malicious prosecution. See id. Similarly, Sheriff
Lamberti argues that BSO is immune from suit where Deputy Caldwell had probable
cause fo arrest Plaintiff. See Lamberti Mot.

As discussed below, there is a genuine issues of material fact as to whether
Deputy Caldwell had probable cause to arrest Plaintiff. Accordingly, the Court will deny
both Motions for Summary Judgment.

A. Standard for Qualified Immunity

Under the doctrine of qualified immunity, “government officials performing

discretionary functions generally are shielded from liability for civil damages insofar as

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their conduct does not violate clearly established statutory or constitutional rights of
which a reasonable person would have known.” Harlow v. Fitzgerald, 457 U.S. 800,

818 (1982). To invoke qualified immunity, the public official must establish that he was.
 

Case 0:10-cv-60944-JIC Document 46 Entered on FLSD Docket 06/06/2011 Page 6 of

acting within the scope of his discretionary authority. Bates v. Harvey, 518 F.3d 1233,
1242 (11th Cir. 2008). The burden then shifts to the plaintiff to overcome the defense

of qualified immunity. Id.

 

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"A government official proves that he acted within the purview of his discretionary

authority by showing ‘objective circumstances which would compel the conclusion that

his actions were undertaken pursuant to the performance of his duties and within the

scope of his authority.” Hutton v. Strickland, 919 F.2d 1531, 1537 (11th Cir. 1990)

(quotations and citations omitted). Actions such as questioning witnesses, responding |

to calls, arresting suspects, and escorting those suspects to jail fall within the scope of a

deputy’s discretionary authority. See Riebsame v. Prince, 267 F. Supp. 2d 1225, |

(M.D. Fla. 2003) affirmed 91 Fed. App’x 656 (11th Cir. 2004). Here, Deputy Caldwell |

 

was on patrol when he observed Plaintiff and Mr. Ramirez, approached and talked to
them, arrested them, and escorted them to jail. Such actions fell within the scope of

Deputy Caldwell’s discretionary authority as a deputy. Though Plaintiff argues that

Deputy Caldwell “had no legal authority to trespass warn [Plaintiff] in the first instance,”

 

Resp. at 9, because “law enforcement officers are not ‘authorized persons’ for purposes

of issuing trespass warning under Florida Statute §§ 810.08(3) or § 810.09(3),” id.,
BSO’s Operating Procedures authorize a deputy to warn a suspected trespasser at a
business that participates in the Trespass Enforcement Program. Operating
Procedures §§ 4.15.4(A), (B). The trespass affidavit on file for BP Gas Station
specifically stated, “Sworn deputies of the Broward Sheriffs Office are authorized
representatives to enforce Florida Statute Sections 810.08 and 810.09 (Trespass) and

to warn/direct any person(s) to leave the premises of . .. BP Gas Station.” Trespass

6

 
 

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Case 0:10-cv-60944-JIC Document 46 Entered on FLSD Docket 06/06/2011 Page 7 of 15

 

Affidavit. Therefore Deputy Caldwell has successfully established that he acted within
the scope of his discretionary authority, and the burden shifts to Plaintiff to overcome
the qualified immunity defense. See Bates, 518 F.3d at 1242.

The analysis for qualified immunity involves a two-part inquiry. Saucier v. Katz,

 

533 U.S. 194, 201 (2001). First, the Court asks, “[t]aken in the light most favorable to |
the party asserting the injury, do the facts alleged show the officer's conduct violated a
constitutional right?” Id. “If, assuming the plaintiff's allegations are true, no such right |
would have been violated, the analysis is complete.” Davis v. Williams, 451 F.3d 759,
762 (11th Cir. 2006). If, however, “a constitutional violation can be made out on the ~ |
plaintiff's facts, [the Court must] determine ‘whether, at the time of the incident, every
objectively reasonable police officer would have realized the acts violated already |
clearly established federal law.” Id. (quoting Garrett v. Athens-Clarke County, 378 F.3d
1274, 1278-79 (11th Cir. 2004)). Though the Saucier protocol previously required
courts to address the two prongs in order, courts now have discretion to decide which
prong to address first in light of the circumstances of the particular case, see Pearson v.
Callahan, 129 S. Ct. 808, 819 (2009). Essentially, to meet his burden here, Plaintiff
must prove both that there was a violation of a constitutional right and that the right was
clearly established.

In Count |, Plaintiff brings a 42 U.S.C. § 1983 claim based on the allegation that
Deputy Caldwell “violated Plaintiff's clearly established rights under the Fourth and
Fourteenth Amendments .. .” Am. Compl. 25. The Fourth Amendment, made
applicable to the states by the Fourteenth Amendment, Mapp v. Ohio, 367 U.S. 643
(1961), protects the right to be free from unreasonable searches and seizures. U.S.

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Case 0:10-cv-60944-JIC Document 46 Entered on FLSD Docket 06/06/2011 Page 8 of 15

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Const. amend. IV. ‘“[I]t is clearly established that an arrest made without probable |

 

cause violates the Fourth Amendment.” Davis, 451 F.3d at 762 (citing Thornton v. City
of Macon, 132 F.3d 1395, 1399 (11th Cir. 1998); Von Stein v. Brescher, 904 F.2d 572,
579 (11th Cir. 1990)). Therefore, Plaintiff meets his burden if he proves that Deputy

Caldwell violated his Fourth Amendment rights by arresting him without probable cause.

B. A Disputed Issue of Fact Exists as to Whether
Deputy Caldwell had Probable Cause to Arrest Plaintiff |

Probable cause exists when “law enforcement officials have facts and
circumstances within their knowledge sufficient to warrant a reasonable belief that the
suspect had committed or was committing a crime.” Case v. Eslinger, 555 F.3d 1317,
1327 (11th Cir. 2009) (quotations and citations omitted). “[P]robable cause requires
only a probability or substantial chance of ericaisal activity, not an actual showing of |
such activity.” Illinois v. Gates, 462 U.S. 213, 245 n.13 (1983). However, “[i]n the
context of a claim for false arrest, an officer is entitled to qualified immunity where that |
officer had ‘arguable probable cause,’ that is, where ‘reasonable officers inthe same
circumstances and possessing the same knowledge as the Defendants could have

believed that probable cause existed to arrest’ the plaintiff.” Davis, 451 F.3d at 762 |
(quoting Kingsland v. City of Miami, 382 F.3d 1220, 1232 (11th Cir. 2004); Von Stein Vv.

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Brescher, 904 F.2d 572, 579 (11th Cir. 1990)). To determine whether Deputy Caldwell,

had arguable probable cause to arrest Plaintiff, the Court must look to the totality of the

 

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circumstances. Davis, 451 F.3d at 762. As noted above, because this case is atthe |
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light most favorable to Plaintiff, the nonmoving party. Id. (citing Skrtich v. Thornton, 280

summary judgment stage, the Court must view the totality of the circumstances in the
Case 0:10-cv-60944-JIC Document 46 Entered on FLSD Docket 06/06/2011 Page 9 of

F.3d 1295, 1299 (11th Cir. 2002); Evans v. Stephens, 407 F.3d 1272, 1277 (11th Cir.

2005)).
Plaintiff claims Deputy Caldwell did not have probable cause for the arrest, see,

e.g., Am. Compl. {| 12; Resp. at 10-12, but Deputy Caldwell argues that he had at least

arguable probable cause, Caldwell Mot. at 6-10. The undisputed facts show that on

 

September 2, 2007, Deputy Caldwell arrived at the BP gas station at 5:15 p.m. He |
observed Plaintiff sitting outside the gas station. Deputy Caldwell knew that BP gas |
station had a trespass affidavit on file authorizing him to direct people to leave the
premises due to ongoing problems there. BSO’s Operating Procedures provide that a
deputy who is aware of a trespass affidavit on file for a business is authorized to advise
an alleged trespasser of the offense and ask him to vacate the premises, and if the
person does not vacate, the deputy may arrest him. Operating Procedures §§
4.15.4(A)-(C). Deputy Caldwell states that he spoke to Plaintiff and determined he had
no business at the BP gas station. Probable Cause Affidavit. Plaintiff did not vacate

the premises, and Deputy Caldwell arrested him. BSO Daily Log at 1; Probable Cause

Affidavit at 1; see also Event Report at 4.

 

Defendants maintain that the above facts suffice to demonstrate the existence of

probable cause, but to constitute facts and circumstances sufficient to warrant a

 

reasonable belief that Plaintiff was trespassing, there must be evidence that Plaintiff

received a trespass warning. See, e.g., Seago v. State, 768 So. 2d 498, 500 (Fla. Dist.

Ct. App. 2000) (“Having issued the trespass notice to Seago and then observing him mF

the premises, the officers had probable cause to believe that he had committed the

offense of trespass” (citing State v. M.A.D., 721 So. 2d 412 (Fla. Dist. Ct. App. 1998)
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Case 0:10-cv-60944-JIC Document 46 Entered on FLSD Docket 06/06/2011 Page 10 of 15

and Melton v. State, 546 So. 2d 444 (Fla. Dist. Ct. App. 1989)). There is no evidence
that BP gas station had trespass warning signs posted on its property or that anyone
from the station warned Plaintiff. Deputy Caldwell cannot remember the details of the |
September 2, 2007 incident, so he relies on his records from that day. In his Probable
Cause Affidavit, Deputy Caldwell wrote, “it should be noted Defendant [(Mr. Flores

Franco)] has received prior trespass warning at this location,” Probable Cause Affidavit

 

but neither Deputy Caldwell nor BSO has produced any record of any trespass “enn
previously issued to Plaintiff, see Exhibit B to Response, Public Records Request [DE |
33-2]. Deputy Caldwell did not write, nor does he remember, how he supposedly knew
that Plaintiff had received a prior trespass warning. Defendants seem to suggest in
their Reply that Deputy Caldwell warned Plaintiff himself, see Reply at 3, stating,
“Plaintiff concedes that Deputy Caldwell spoke to him, but that he did not understand |
what the Deputy said because he spoke with him in English,” id. Yet, Plaintiff's
deposition reveals that the conversation Deputy Caldwell’s Motion references occurred
when Deputy Caldwell pulled up to the Gas Station, told Plaintiff and Mr. Ramirezto
stand up, put Plaintiff and Mr. Ramirez against the patrol car, and as he was

handcuffing Plaintiff and Mr. Ramirez. See Flores Franco Dep. at 19. Such a

recounting of the events does not appear to provide time for Deputy Caldwell to provide
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a warning, even if that warning was in English. Further, in an affidavit attached to his

Response, Plaintiff swears, “From the moment Deputy Caldwell arrived and | was

handcuffed, until the time Deputy Caldwell left the BP parking lot in his police vehicle,

 

Deputy Caldwell spoke with no persons other than a young man at a nearby store.” |
Exhibit A to Response, Affidavit of Fidensio Flores Franco [DE 33-1] (“Flores Franco
10 |
 

Case 0:10-cv-60944-JIC Document 46 Entered on FLSD Docket 06/06/2011 Page 11 of 15

Affidavit’) | 4. In his deposition, Plaintiff swears that neither Deputy Caldwell nor
anyone else asked him to leave before his arrest. Flores Franco Dep. at 42:23-43:5.
Looking at the totality of the circumstances in the light most favorable to Plaintiff

the Court cannot conclude that probable cause existed for Plaintiffs arrest, because

 

there is an issue of disputed fact as to whether Plaintiff received a trespass warning
prior to his arrest. Accordingly, the Court cannot conclude that arguable probable
cause existed. If “there is an insufficient showing of arguable probable cause, then

there is clearly an insufficient showing of probable cause.” Davis, 451 F.3d at 764 n.7.

 

Consequently, the Court will deny Defendants’ Motions for Summary Judgment.

C. The Disputed Issue of Fact Also Prohibits
Summary Judgment on the State Claims

1. Qualified Immunity
In the state context, Florida Statutes § 768.28(9)(a) grants qualified immunity to |

Florida state employees. The statute provides, in pertinent part:

be held personally liable in tort or named as a party defendant in any action
for any injury or damage suffered as a result of any act, event, or omission
of action in the scope of her or his employment or function, unless such
officer, employee, or agent acted in bad faith or with malicious purpose or in
a manner exhibiting wanton and willful disregard of human rights, safety, or

property...

|
No officer, employee, or agent of the state or of any of its subdivisions shall

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Fla. Stat. § 768.28(9)(a). “The purpose of [this] qualified immunity . . . is to ‘immunize |
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public employees from liability for ordinary negligence, while providing injured claimants

a remedy against governmental entities through the waiver of sovereign immunity. This
. .. promote[s] vigorous performance of duties by government employees, free from the

fear of negligence actions, while at the same time providing redress through

11
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Case 0:10-cv-60944-JIC Document 46 Entered on FLSD Docket 06/06/2011 Page 12 f 15

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governmental assumption of liability to persons injured by the ordinary negligence of
government employees."” Lemay v. Kondrk, 860 So. 2d 1022, 1023 (Fla. Dist. Ct. App.
2003) (quoting Rupp v. Bryant, 417 So. 2d 658, 671 (Fla. 1982) (Boyd, J., dissenting)).
As applied to this case, § 768.28(9)(a) immunizes Deputy Caldwell, a state |
employee, from suit and liability in tort as long as he acted within the scope of his
employment, and did not act in bad faith or with malicious purpose or in a manner |
exhibiting wanton disregard of human rights. See Fla. Stat. § 768.28(9)(a); see also
Willingham v. City of Orlando, 929 So. 2d 43, 48 (Fla. Dist. Ct. App. 2006) Cimportanty,
the immunity provided by section 768.28(9)(a) is both an immunity from liability and an
immunity from suit. . .”). As discussed above, Deputy Caldwell’s actions while on patrol
as a deputy, observing Plaintiff, approaching him and talking to him, arresting him, and
escorting him to jail, fell within the scope of his employment. See Hutton, 919 F.2d at |
1537; Riebsame, 267 F. Supp. 2d at 1237. However, under Florida law, “malice may
be inferred from the absence of probable cause.” Colonial Stores, Inc. v. Scarbrough,
355 So. 2d 1181, 1185 (Fla. 1977). Thus, the factual dispute precludes a determination
that Deputy Caldwell did not act with malice. The Court therefore cannot determine
whether Deputy Caldwell was immune from suit and liability on the state law claims. |
2. Liability for State Claims

In case Deputy Caldwell was not immune from the state claims, Defendants also

argue that the existence of probable cause bars Plaintiff's tort claims against Deputy

 

Caldwell and BSO. The Amended Complaint brings two tort claims against BSO and
Deputy Caldwell: false arrest/false imprisonment against BSO (Count Il), or alternatively
against Caldwell in his individual capacity (Count Ill); and malicious prosecution against

12 |
Case 0:10-cv-60944-JIC Document 46 Entered on FLSD Docket 06/06/2011 Page 13 ] 15
Caldwell (Count IV). See Am. Compl. 9] 28-47.
alse Arrest/False Imprisonment
To prevail on a claim for false imprisonment or false arrest,’ a Plaintiff must show
that he was “unlawfully restrained without color of authority.” Everett v. Fla. Institute of
Tech., 503 So. 2d 1382, 1383 (Fla. Dist. Ct. App. 1987). The existence of probable

cause is a defense to false arrest and false imprisonment. Daniel v. Vill. of Royal Palm

existence of probable cause is an affirmative defense.”); see also Jackson v. Navarro,

 

Beach, 889 So. 2d 988, 990 (Fla. Dist. Ct. App. 2004) (“in a false arrest case, the
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665 So. 2d 340, 342 (Fla. Dist. Ct. App. 1995) (“in false arrest the lack of probable
cause is not an element which plaintiff must prove, but is rather an affirmative
defense.”). The standard of probable cause for a lawful arrest is the same under

Florida law and federal law. See United States v. McDonald, 606 F.2d 552, 553 n.1

The false arrest/false imprisonment claim against BSO alleges liability based on.
the absence of probable cause and actions committed within the course and scope of |

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(5th Cir. 1979).
|
Defendant Caldwell’s employment with BSO. Am. Compl. ff] 29-31. Alternatively, the |

false arrest/false imprisonment claim against Deputy Caldwell alleges liability based on
the absence of probable cause and actions “committed outside the course and scope of

Defendant Caldwell’s employment, or in bad faith or with malicious purpose or in a

manner exhibiting wanton and willful disregard of human rights, safety, or property, the

' “False arrest and false imprisonment are different labels fro the same cause of
action.” Weissman v. K-Mart Corp., 396 So. 2d 1164, 1165 n.1 (Fla. Dist. Ct. App.
1981) (citing Jackson v. Biscayne Med. Center, Inc., 347 So. 2d 721, 723 (Fla. Dist. Ct.
App. 1977).

 

13
Case 0:10-cv-60944-JIC Document 46 Entered on FLSD Docket 06/06/2011 Page 14 of 15

conduct of Defendant Caldwell occurred in his individual capacity.” Id. 7] 35-37. As
discussed above, there is no evidence that Deputy Caldwell acted outside the scope of
his employment, but disputed issues preclude a ruling on whether he had probable
cause to arrest Plaintiff, and consequently, whether he acted with malicious purpose. |
Therefore, the Court will deny summary judgment as to the false arrest/false
imprisonment claim.
b. Malicious Prosecution
To prevail on a claim for malicious prosecution, a Plaintiff must show: “(1) an |
original criminal or civil judicial proceeding against the present plaintiff was commences
or continued; (2) the present defendant was the legal cause of the original proceeding |
against the present plaintiff as the defendant in the original proceeding; (3) the
termination of the original proceeding constituted a bona fide termination of that |
proceeding in favor of the present plaintiff; (4) there was an absence of probable ones
for the original proceeding; (5) there was malice on the part of the present defendant;
and (6) the plaintiff suffered damage as a result of the original proceeding.” Alamo

Rent-A-Car, Inc. v. Mancusi, 632 So. 2d 1352, 1355 (Fla. 1994) (citations omitted).

 

Failure to establish any one of these elements is fatal to the claim. Id.

Defendants argue that Plaintiff's claim fails because he has not established the |

 

absence of probable cause and malice elements. As discussed above, a factual

dispute precludes a determination as to the existence of probable cause, and because

malice may be implied from the absence of probable cause, the dispute necessarily

precludes a determination as to malice as well. Therefore, the Court will deny summa

judgment as to the malicious prosecution claim.

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14
Case 0:10-cv-60944-JIC Document 46 Entered on FLSD Docket 06/06/2011 Page 15 of 15

IV. CONCLUSION
Based on the foregoing, it is hereby

ORDERED AND ADJUDGED as follows:

1: Defendant Christopher Caldwell’s Motion for Summary Judgment [DE 29]
is DENIED; |

2. Defendant Alfred T. Lamberti’s Motion for Summary Judgment [DE 30] is

DENIED. |

DONE AND ORDERED in Chambers at Fort Lauderda

  
   

Broward County,

Molo

JAMES$ |. COHN
United States District Judge

yr
Florida, on this 6 day of June, 2011.

Copies provided to:
Counsel of record via CM/ECF

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